                                                               Case 2:21-cv-00198-CDS-DJA Document 19
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                                                          1    Christian Gabroy
                                                               (#8805)
                                                          2    Kaine Messer
                                                               (#14240)
                                                          3    GABROY | MESSER
                                                               The District at Green Valley Ranch
                                                          4    170 South Green Valley Parkway
                                                               Suite 280
                                                          5    Henderson, Nevada 89012
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                                                          6    christian@gabroy.com
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                                                          7    Attorneys for Plaintiff
                                                               Susan Finucan
                                                          8
                                                                                            UNITED STATES DISTRICT COURT
                                                          9                                      DISTRICT OF NEVADA

                                                          10     SUSAN FINUCAN, an individual;                   Case No. 2:21-cv-0198-CDS-DJA

                                                          11                   Plaintiff,                        STIPULATION AND ORDER TO
                                                                                                                 EXTEND JOINT PRETRIAL ORDER
                                                          12     vs.                                             DEADLINE
                  (702) 259-7777 FAX: (702) 259-7704
                   170 S. Green Valley Pkwy., Suite 280
GABROY | MESSER




                                                          13     CITY OF LAS VEGAS, a political (First Request)
                        Henderson, Nevada 89012




                                                                 subdivision of the State of Nevada;
                                                          14     SCOTT ADAMS, individually and in his
                                                                 official capacity; DOES 1 through 10;
                                                          15     and ROE Corporations 11 through 20,
                                                                 inclusive;
                                                          16
                                                                                Defendants.
                                                          17

                                                          18                            STIPULATION AND ORDER TO EXTEND
                                                                                         JOINT PRETRIAL ORDER DEADLINE
                                                          19
                                                                        The parties by and through their respective attorneys of record, hereby stipulate
                                                          20
                                                               to a forty-five (45) day extension up to and including January 17, 2023 (January 16,
                                                          21
                                                               2023 falls on a federal holiday), to file the joint pretrial order. The parties’ joint pretrial
                                                          22
                                                               order is currently due on December 2, 2022. ECF No. 15, p. 2. To date, the parties are
                                                          23
                                                               working and conferring together to complete the joint pretrial order to completion and
                                                          24
                                                               finalization. Per LR IA 6-1, this is the first request for an extension to file the joint pretrial
                                                          25
                                                               order. Plaintiff has requested this extension and Defendant has agreed to the request.
                                                          26
                                                                       Good cause exists for such extension. Tragically, Plaintiff’s lead counsel’s
                                                          27
                                                               immediate family member previously suffered a medical emergency, requiring intubation.
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                                                          1    This family emergency has necessarily required a great deal of Plaintiff’s lead counsel’s

                                                          2    time and attention. Additionally, Plaintiff’s counsel has prior scheduled travel

                                                          3    commitments during the upcoming holidays and requires the extension to conduct due

                                                          4    diligence and potentially streamline various issues.

                                                          5           Accordingly, the parties stipulate to extending the deadline to file the Joint Pretrial

                                                          6    Order deadline to January 17, 2023.

                                                          7           This request is not sought for any improper purpose or other reason of delay. No

                                                          8    party is prejudiced by the requested extension.

                                                          9            IT IS SO STIPULATED.

                                                          10   Dated: December 1, 2022                     Dated: December 1, 2022
                                                          11   Respectfully submitted,                     Respectfully submitted,
                                                          12
                  (702) 259-7777 FAX: (702) 259-7704
                   170 S. Green Valley Pkwy., Suite 280




                                                               /s/ Christian Gabroy                         /s/ Jeffrey Galliher
GABROY | MESSER




                                                          13   Christian Gabroy                            Jeffrey Galliher
                        Henderson, Nevada 89012




                                                               (#8805)                                     (#8078)
                                                          14   Kaine Messer                                495 South Main Street
                                                               (#14240)                                    Sixth Floor
                                                          15   The District at Green Valley Ranch          Las Vegas, Nevada 89101
                                                               170 South Green Valley Parkway              Tel (702) 229-6629
                                                          16   Suite 280                                   jgalliher@lasvegasnevada.gov
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                                                          17   Tel     (702) 259-7777                      Attorney for Defendants
                                                               christian@gabroy.com
                                                          18   kmesser@gabroy.com
                                                          19   Attorneys for Plaintiff
                                                          20

                                                          21                                      IT IS SO ORDERED.
                                                          22

                                                          23
                                                                                                  _________________________________________
                                                          24                                                     DISTRICT JUDGE,
                                                                                                  UNITED STATES MAGISTRATE   JUDGE
                                                                                                  UNITED STATES MAGISTRATE JUDGE
                                                          25

                                                          26                                      Dated:       December 2, 2022

                                                          27

                                                          28                                           Page 2 of 2
